       23-03004-cgb Doc#139-18 Filed 05/28/25 Entered 05/28/25 18:09:38 Exhibit 18. Email
EXHIBIT 18 - EMAIL FROM CARRUTH TO RICE (4.13.22)
                               from Carruth to Rice Pg 1 of 43

M         Gmail                                                                  01234ÿ6278ÿ9 12341278 8327

 ÿÿÿÿ!ÿ" #ÿ$%ÿ&ÿ'())*ÿÿ#ÿ"+ÿ,-ÿ./0/+12113
4ÿ67889:7
;!!ÿ+<<(#=ÿ>?@ABBCDEFGHIJK@LMN                                                     OPQRÿTIBÿUVRÿWXWWÿADÿVYXUÿZ[
\LYÿ]B^A_ÿ̀^@Pÿ>aB^A_KB^@PFbPcAb^dDK@LMN
e@YÿfA@EÿeAMIaPbbÿ>JA@EFbPcAb^dDK@LMNRÿg[^@EAPbÿh^idL_ÿjMQ^idL_FIQc_MK@LMkgÿ>MQ^idL_FIQc_MK@LMNRÿlAdM^_P
md_AnQPBÿ>?Pd_AnQPBFIQc_MK@LMN
  oPBPÿ^dÿDEPÿPiP@CDPQÿZpTKÿ\EPBPÿABPÿAÿ@LCIbPÿLqÿAMP_QMP_DdÿDLÿPiDP_QÿQADPdKrÿlKeK
  ÿ
  ÿ
  -<sÿ]B^A_ÿ̀^@Pÿ>tuvwxyuvz{|}{~w}vyzN
  #ÿOPQ_PdQAnRÿTIB^bÿUVRÿWXWWÿUWYVÿZ[
   ÿlPqqÿeABBCDEÿ>zwuu|yzN
  +ÿfA@EÿeAMIaPbbÿ>wz|}{~w}vyzNÿ[^@EAPbÿh^idL_ÿjvx|~xyzkÿ>vx|~xyzNÿlAdM^_P
  md_AnQPBÿ>{xw{u|~xyzN
  ()#ÿ̀PYÿZhZÿrÿdAbPÿLqÿLDÿUTÿÿ]CaaAdÿbPAdPÿDLÿZeÿjÿ V rerWXWWk
  ÿ
  pLC_QdÿcLLQKÿeA_ÿÿdPPÿDEPÿZpÿqLBÿUT
  ÿ
  ÿ
  _ÿOPQRÿTIBÿUVRÿWXWWÿADÿUXYVÿT[ÿlPqqÿeABBCDEÿ>zwuu|yzNÿGBLDPY
    \Bn^_cÿDLÿ@bLdPÿAdÿdLL_ÿAdÿDE^dÿB^QAnKÿÿlKeK
    ÿ
    -<sÿ]B^A_ÿ̀^@Pÿ>tuvwxyuvz{|}{~w}vyzN
    #ÿ\CPdQAnRÿTIB^bÿUWRÿWXWWÿYUÿZ[
     ÿlPqqÿeABBCDEÿ>zwuu|yzN
    +ÿfA@EÿeAMIaPbbÿ>wz|}{~w}vyzNÿ[^@EAPbÿh^idL_ÿjvx|~xyzkÿ>vx|~xyzNÿlAdM^_P
    md_AnQPBÿ>{xw{u|~xyzN
    ()#ÿ̀PYÿZhZÿrÿdAbPÿLqÿLDÿUTÿÿ]CaaAdÿbPAdPÿDLÿZeÿjÿ V rerWXWWk
    ÿ
    OEP_ÿ^dÿDEPÿ@bLd^_c
    ÿ
    ÿ
    ]B^A_ÿ\Kÿ̀^@P
    mTp\Rÿ¡eK
    eLBILBADPÿeLC_dPbÿ
    eE^PqÿIPBAD^_cÿqq^@PB
    ¢XrVV r¢ £ÿjePbbk
    ÿÿÿ
    ÿ
    23-03004-cgb Doc#139-18 Filed 05/28/25 Entered 05/28/25 18:09:38 Exhibit 18. Email
 01ÿ3456ÿ789ÿ 6ÿ 6ÿÿÿ5ÿ994ÿ!"#$%&'()ÿ*9+5
                            from Carruth to Rice Pg 2 of 43

   ,-ÿ1.ÿ/901ÿ1
   7-5.ÿ95ÿ23ÿÿ89+8+45.ÿ+95ÿ+ÿ8906ÿ956545ÿ+9ÿ5ÿ851.017ÿ-6+4017ÿ+ÿ5ÿ465ÿ+ÿ8+ÿ7ÿ01ÿ84ÿ94-54ÿ1.
   23ÿÿ95.:;ÿ6<56ÿ+ÿ3065=
   6545ÿ5;5-45ÿ1.ÿ1+90>5ÿ5ÿ956545ÿ1.ÿ451.ÿ+ÿ065ÿ851.017ÿ-6+4017=
   31?ÿ@+46ÿ1.ÿ86545ÿ.A045ÿ0ÿ@+4ÿA5ÿB4540+14=

   ÿ5ÿ994
   C
   D
   
   ,
   C5@-596ÿD8616ÿ464?0ÿEÿ,4<596ÿ==
   39445.ÿ8576ÿ7.A04+94ÿF01-5ÿGHI
   J7887FÿKÿL0MF30NÿKÿ77OP880
   J=ÿ2H 3ÿQ R STUVWXXYWWWZ[)
   =ÿ2 Q3ÿ RH Q STU\WYZZ\V\Y\)
   9=ÿ2II3ÿIIIR STU[]]]]]ZXY\)
   !"#$%&'(506+!"#$%&'()
   """&"#$%&'( $U^^"""&"#$%&'(^)
   304ÿ-+55410-0+1ÿ1.ÿ1@ÿ-5514ÿ+ÿ0ÿ95ÿ-+10.5106ÿ1.ÿ0151.5.ÿ4+656@ÿ+9ÿ5ÿ445ÿ+ÿ5ÿ8594+1ÿ+ÿ*+5
   5@ÿ95ÿ..95445.=ÿPÿ@+4ÿA5ÿ95-50A5.ÿ04ÿ5R506ÿ01ÿ599+96ÿ86545ÿ1+0@ÿ44ÿ<@ÿ5658+15ÿ0555.056@ÿÿ2H 3ÿGI R
   G Q 6ÿ1.ÿ@+4ÿ95ÿ1+005.ÿÿ1@ÿ.04-6+44956ÿ.0490<40+16ÿ+9ÿ5ÿ?017ÿ+ÿ1@ÿ-0+1ÿ01ÿ95601-5ÿ+1ÿ5ÿ-+1514ÿ+
   04ÿ01+950+1ÿ04ÿ89+0<05.=ÿN+017ÿ01ÿ04ÿ554475ÿ5@ÿ<5ÿ-+14945.ÿ4ÿÿ.0706ÿ+9ÿ565-9+10-ÿ4071495ÿ+ÿ1@
   5586+@55ÿ+ÿC5@-596ÿD8616ÿ464?0ÿEÿ,4<596ÿ==ÿ2_CD,_3=ÿCD,ÿ4+50-66@ÿ<6+-?4ÿ5R5064ÿ-+101017
   +<5̀-0+1<65ÿ617475ÿ+9ÿ44480-0+44ÿ-+151=ÿ544754ÿ451ÿ+ÿCD,ÿ4+46.ÿ<5ÿ-+140.595.ÿ95-50A5.ÿ+16@ÿ0
   -+10955.ÿ<@ÿÿ95491ÿ95-508=ÿ35ÿPOFÿ.+54ÿ1+ÿ66+*ÿ5ÿ445ÿ+ÿ01+956ÿ;ÿ.A0-56ÿ44-ÿ4ÿ04ÿ-+55410-0+16ÿ+
   A+0.ÿ;ÿ8516054=ÿCD,ÿ5;895446@ÿ95459A54ÿ1.ÿ501014ÿ1@ÿ+915@R-6051ÿ890A06575ÿ+9ÿ*+9?R89+.4-
   89+5-0+14ÿ01ÿ04ÿ-+55410-0+1=

'IS abcÿ
       eÿfghhijkÿllÿeÿmikÿnogpqkrÿstuvwx
      QD
23-03004-cgb Doc#139-18 Filed 05/28/25 Entered 05/28/25 18:09:38 Exhibit 18. Email
                        from Carruth to Rice Pg 3 of 43


                           PURCHASE AND SALE AGREEMENT

      THIS PURCHASE AND SALE AGREEMENT (this "Agreement") is entered into as of
the   day of March, 2022, (the "Effective Date"), by and between MESILLA VALLEY
VENTURES, LLC, a Texas limited liability company ("Seller"), and LPC RETAIL, LLC, a
Delaware limited liability company ("Buyer").

                                         WITNESSETH:

       For and in consideration of the promises set forth in this Agreement and other good and
valuable consideration, the receipt and sufficiency of which is hereby acknowledged, Seller and
Buyer (each, a "Party" and, collectively, the "Parties") hereby covenant and agree as follows:

       1.     Agreement to Purchase. Buyer agrees to purchase, and Seller agrees to sell, in
accordance with the terms, conditions and stipulations set forth in this Agreement (the
"Transaction"), all of Seller's right, title and interest in and to:

               (a)     the parcel of real property, as more particularly described on Exhibit A
attached hereto (the "Real Property").

                 (b)   all buildings and other improvements located on the Real Property
(collectively, the "Improvements"), and all of Seller's interest, if any, in any equipment, machinery
and personal property on or used in connection with the Real Property (collectively, the
"Personalty").

               (c)     all plans, specifications and studies pertaining to the Real Property in
Seller's possession or under its control, and to the extent the same are not to be assigned to Tenant
under the Lease, Seller's interest in all permits and licenses (collectively, the "Permits"),
warranties and guarantees (collectively, the "Warranties"), and contracts and intangibles relating
to the Real Property (collectively, the "Contracts").

               (d)     all mineral, oil and gas rights, water rights, sewer rights and other utility
rights appurtenant to or allocated to the Real Property.

                (e)    the Lease (defined below), including without limitation, all rent, prepaid
rent, security deposits and other payments and deposits thereunder and all guarantees thereof
(subject to the requirements of this Agreement); and

                        all fixtures, appurtenances, easements, licenses, privileges, and other
property interests belonging or appurtenant to the Real Property (all of the foregoing items in
clauses (a) through (f) above, now, or hereafter existing, collectively, the "Property").

       2.     Purchase Price. The purchase price to be paid by Buyer to Seller for the Property
is Two Million Five Hundred Forty-Five Thousand Dollars and No Cents ($2,545,000.00) (the
"Purchase Price"), which Purchase Price is payable as follows:

              (a)     Two Hundred Thousand and No/100 Dollars ($200,000.00) earnest money
(said amount, plus all interest earned or accrued thereon, the "Earnest Money Deposit") to be


Page Il
23-03004-cgb Doc#139-18 Filed 05/28/25 Entered 05/28/25 18:09:38 Exhibit 18. Email
                        from Carruth to Rice Pg 4 of 43



deposited in escrow with Southwestern Abstract & Title Co. do Gricel Chavez (the "Escrow
Agent") not later than three (3) business days following the receipt by Escrow Agent of a fully-
executed original of this Agreement (said receipt by Escrow Agent of both a fully-executed
original of this Agreement and the Earnest Money Deposit, the "Opening of Escrow"), which
Earnest Money Deposit is to be held by Escrow Agent until released to Seller or Buyer as provided
herein or paid to Seller at close of escrow ("COE");

                (b)    The balance of the Purchase Price in the amount of Two Million Five
Hundred Forty Thousand Dollars and no Cents ($2,345,000.00) shall be paid in cash or by wire
transfer of good U.S. finds, and delivered at Closing. Upon payment of the Purchase Price, Seller
shall execute and deliver to Buyer its recordable and transferable Special Warranty Deed (or New
Mexico equivalent thereto) conveying to Buyer or its nominee, good, record and marketable title to
the Property in fee simple, free, and clear of all liens, encumbrances, covenants, restrictions,
easements, rights of way, claims, rights, and other matters except as set forth in the final Buyer
approved Title Commitment. If Buyer, in its sole discretion shall elect to close this transaction prior
to the actual date upon which the actual commencement of payment of rents under the Lease shall
occur (the "Rent Commencement Date"), then Buyer shall receive a credit against the Purchase Price
equal to one hundred fifty percent (150%) of all rents or other monetary obligations of the Tenant
under the Lease which would have been due from the Tenant if said rents had commenced as of the
Close of Escrow for the period from the Close of Escrow through the actual Rent Commencement
Date (the "Rent Credit"). Buyer and Seller shall provide Escrow Agent with their best estimate of
the Rent Credit. Following the Close of Escrow, in the event that the amount of the Rent Credit is
not accurate based on the actual Rent Commencement Date under the Lease, the parties shall make
the appropriate adjustment with any shortfall or excess payment tendered or refunded by the
appropriate party as applicable. The provisions of this Section 2(b) shall survive Close of Escrow.

        (c)   Upon deposit of the Deposit, Buyer will be deemed to have irrevocably paid to
Seller a portion thereof equal to ONE HUNDRED AND NO/100 DOLLARS ($100.00)
("Independent Contract Consideration"), which amount Seller and Buyer bargained for and agreed
to as consideration for Seller's execution and delivery of this Agreement. The Independent
Contract Consideration is non-refundable from and after said date of delivery, and Seller shall
retain the Independent Contract Consideration notwithstanding any other provision of this
Agreement to the contrary and all references to a return of the Deposit to Buyer shall exclude the
Independent Contract Consideration, which shall be delivered to Seller.


       3.      Application of Earnest Money Deposit. Seller and Buyer hereby instruct Escrow
Agent to place the Earnest Money Deposit in a federally insured interest-bearing passbook account
on behalf of Seller and Buyer. The Earnest Money Deposit shall be applied as follows:

             (a)      if Buyer cancels this Agreement as Buyer is so entitled to do as provided in
this Agreement, the Earnest Money Deposit shall be paid immediately to Buyer.

               (b)      if the Earnest Money Deposit is forfeited by Buyer pursuant to this
Agreement, such Earnest Money Deposit shall be paid to Seller as Seller's agreed and total
liquidated damages as contemplated in Section 21(b) below, it being acknowledged and agreed
that it would be difficult or impossible to determine Seller's exact damages; and


P: PUBLIC/PROJECTFILES/510TRISHONDISPOSTION PSA DRAFT 1/30/22
23-03004-cgb Doc#139-18 Filed 05/28/25 Entered 05/28/25 18:09:38 Exhibit 18. Email
                        from Carruth to Rice Pg 5 of 43



               (c)    if escrow closes, the Earnest Money Deposit shall be credited to Buyer,
automatically applied against the Purchase Price, and paid to Seller at COE.

         4.     Transaction Documents. The personal property shall be transferred by that certain
bill of sale from Seller to Buyer, the agreed upon form of which is attached hereto as Exhibit B
(the "Bill of Sale"); the Permits, Warranties and Contracts shall be transferred by that certain
assignment and assumption agreement, the agreed upon form of which is attached hereto as Exhibit
C (the "Assignment Agreement"); the Real Property and the Improvements shall be transferred
and conveyed by execution and delivery of Seller's special or limited warranty deed, the agreed
upon form of which is attached hereto as Exhibit D (the "Deed"); and the Lease shall be assigned
by Seller to Buyer pursuant to certain assignment of lease, the agreed upon form of which is
attached hereto as Exhibit E (the "Lease Assignment"). The Bill of Sale, the Assignment
Agreement, the Deed, and the Lease Assignment are hereinafter collectively referred to as the
"Transaction Documents". Notwithstanding the foregoing, if any Warranty transfer requires the
approval of the applicable warrantor and/or satisfaction of any other conditions to such transfer,
Seller shall obtain such approval and satisfy all such conditions no later than COE.

       5.       Lease. The Property is subject to a lease with Texas Roadhouse, Inc., a Kentucky
limited liability company, d/b/a Bubbas 33, as Tenant (the "Tenant") (the "Lease") dated
November 8, 2019, together with its subsequent Amendments 1-6 and Seventh Amendment and
Reinstatement to Ground Lease. The Lease will survive Closing and will not constitute an
Objectionable Matter (as defined in Section below).

        6.     Title Report; Survey; Objectionable Matters. (a) Within ten (10) days after the
Opening of Escrow, Escrow Agent shall deliver a current Preliminary Title Report (the "Report")
for an ALTA or TLTA, as applicable, extended coverage title insurance policy (the "Owner's
Policy") on the Property to Buyer and Seller. The Report shall show the status of title to the
Property as of the date of such Report and shall also describe the requirements of Escrow Agent
for the issuance of the Owner's Policy as described herein. The cost of the Owner's Policy shall
be paid by as set forth in this Agreement. In addition to the Report, Escrow Agent shall
simultaneously deliver to Buyer complete, legible copies of all documents identified in Schedule
B of the Report.

               (b)     Promptly after the Opening of Escrow, and receipt of the Report and title
exception documents, Buyer shall cause a surveyor licensed in the State in which the Property is
located to complete and deliver to Escrow Agent and Buyer a current, certified ALTA survey of
the Real Property and Improvements (the "Survey"), whereupon the legal description in the Survey
shall control over the description in Exhibit A attached hereto to the extent they may be
inconsistent. The Survey shall set forth the legal description and boundaries of the Real Property
and all easements, encroachments, and improvements thereon.

                (c)     If Buyer determines, in its sole and absolute discretion, that any exception
to title as shown in the Report and/or any matter disclosed by the Survey is objectionable and/or
unacceptable to Buyer (collectively, the "Objectionable Matters"), then Buyer may, by giving
written notice thereof to Escrow Agent and Seller on or before expiration of the Inspection Period
or ten (10) days from Buyer's receipt of the Report or Survey disclosing such Objectionable
Matter, whichever is later, but in no event later than the later to occur of (i) thirty (30) days after


P: PUBLIC/PROJECTFILES/510TELSHOR/DISPOSTIONPSA DRAFT 1/30/22
23-03004-cgb Doc#139-18 Filed 05/28/25 Entered 05/28/25 18:09:38 Exhibit 18. Email
                        from Carruth to Rice Pg 6 of 43



mutual execution of this Agreement or (ii) five (5) days following Buyer's receipt of Seller's Title
Response Notice (defined below) either (i) terminate this Agreement, whereupon the Earnest
Money Deposit shall be paid immediately to Buyer and all documents deposited in escrow by
Buyer shall be returned to Buyer without delay, or (ii) provisionally accept the title to the Property,
subject to Seller's agreement to cause the removal of or otherwise cure such Objectionable Matters
prior to COE. If Buyer gives notice to Seller of its election of option (ii) above, Seller shall notify
Buyer in writing ("Seller's Title Response Notice") within five (5) days after receiving Buyer's
written notice of Objectionable Matters whether Seller intends to remove (or cause Escrow Agent
to endorse over, to Buyer's satisfaction) or otherwise cure any such Objectionable Matters. If
Seller fails to notify Buyer of its intentions within such five (5) day period, Seller shall be deemed
to have elected not to remove or otherwise cure such Objectionable Matters. Buyer acknowledges
that Seller shall have no obligation to remove or otherwise cure any Objectionable Matters, except
as otherwise expressly provided herein. All costs and expenses to remove or otherwise cure the
Objectionable Matters shall be borne by Seller.

                 (d)     In no event may Seller encumber or allow to be encumbered the Property
with any new title matter after the Opening of Escrow. In the event the Report is amended (an
"Amended Report") to include new exceptions that are not set forth in the prior Report, or in the
event the Survey is amended (an "Amended Survey") to include or depict matters that are not set
forth in the prior Survey, Buyer shall have Until the later of (i) the expiration of the Inspection
Period, (ii) the date five (5) days after Buyer's receipt of both such Amended Report and copies of
the documents identified in the new exceptions or new requirements, or (iii) the date five (5) days
after Buyer's receipt of the Amended Survey, as applicable, within which to either (Y) terminate
this Agreement as set forth in Section 6(c)(i) above, or (Z) to provisionally accept the title to the
Property corresponding to such Amended Report or Amended Survey subject to Seller's
agreement to cure or otherwise cause the removal of any Objectionable Matters identified by Buyer
in a written notice to Seller in the manner set forth in Section 6(c) above.

                (e)     In the event Buyer provisionally accepts title to the Property subject to
Seller's agreement to cure one or more Objectionable Matters pursuant to Sections 6(c) and/or 6(d)
above, if Seller serves notice (or is deemed to have served notice) to Buyer that Seller does not
intend to remove or otherwise cure such Objectionable Matters before COE, Buyer shall, within
five (5) days after receipt of such notice from Seller, notify Seller and Escrow Agent in writing of
Buyer's election to either (i) terminate this Agreement as set forth in Section 6(c)(i) above, or (ii)
waive such Objectionable Matter(s). If written notice of either satisfaction or dissatisfaction as to
any Report, Survey, Amended Report or Amended Survey is not timely given by Buyer to Seller
pursuant to this Section 6, then Buyer shall be deemed to have disapproved of the condition of the
title of the Property and shall have elected to terminate this Agreement as set forth in Section
6(c)(i) above.

                       If Buyer and Seller mutually agree that an Objectionable Matter cannot be
cured by either Seller or Escrow Agent within the five (5) day period specified in this Section 6,
but such Parties mutually agree that such Objectionable Matter is reasonably susceptible to cure
within thirty (30) days following the scheduled Closing Date, then Seller and Buyer shall amend
this Agreement to provide that the Closing shall be delayed until the date which is no later than
thirty (30) days following the scheduled Closing Date to allow time for such Objectionable Matter
to be cured by Seller or Escrow Agent.


P: PUBLIC/PROJECTFILES/510TELSHOR/DISPOSTIONPSA DRAFT 1/30/22
23-03004-cgb Doc#139-18 Filed 05/28/25 Entered 05/28/25 18:09:38 Exhibit 18. Email
                        from Carruth to Rice Pg 7 of 43


               (g)     Notwithstanding anything to the contrary set forth in this Agreement, any
lien, including, without limitation, any mortgage lien, deed of trust lien, tax lien, judgment lien
and/or mechanics liens affecting the Property must be paid and satisfied by Seller at Closing,
whether or not Buyer objects thereto, and such items shall be deemed to be included in all
Objectionable Matters even if not specifically so included by Buyer.

                (h)     If Seller is unable to convey title to the Property free and clear of the lien of
any state or local tax now due and owing, Seller shall be responsible for either paying such tax or
providing to Escrow Agent security (such as a cash deposit) so that Escrow Agent can issue the
Title Policy to Buyer free and clear of such liens, whether or not Buyer includes such liens as
Objectionable Matters.

        7.      Seller's Diligence Materials. Seller agrees to deliver to Buyer, contemporaneously
with the Opening of Escrow, copies of all documents and information in Seller's possession or
control relating to the ownership, use, management, or operation of the Property (collectively,
"Seller's Diligence Materials"), all at no cost to Buyer. The foregoing deliveries shall include, but
not be limited to, the documents, materials and information set forth on the attached Exhibit F.
Should Seller receive new or updated information regarding any of the matters set forth in this
Section 7 after the Effective Date and prior to COE, Seller will immediately notify Buyer of such
fact and will promptly deliver complete copies thereof to Buyer.

        8.       Inspection Period; Entry Rights.

                (a)    Buyer shall have until 11:59 p.m. MST on the twenty first (21st) day after
the Opening of Escrow (the "Inspection Period"), at Buyer's sole cost, within which to conduct
and approve any investigations, studies or tests deemed necessary by Buyer, in Buyer's sole
discretion, to determine the feasibility of acquiring the Property, including, without limitation,
Buyer's right to: (i) review and approve the Report and Survey, review and approve the Lease,
review Seller's operating statements with respect to the Property, and review the Permits,
Warranties and Contracts; and (ii) obtain, review and approve an environmental, property
condition and zoning study of the Property (collectively, "Buyer's Diligence").

                 (b)      Seller hereby grants to Buyer and Buyer's agents, employees, and
contractors the right to enter upon the Property, at any time or times prior to COE, to conduct
Buyer's Diligence. Buyer and/or its consultants shall, during any entry upon the Property, carry
not less than One Million Dollars ($1,000,000.00) commercial general liability insurance insuring
all activity and conduct of Buyer and/or such consultants. Buyer agrees that in exercising its right
of access hereunder, Buyer will use and will cause its consultants to use commercially reasonable
efforts not to unreasonably interfere with the activity of Tenant or any persons providing service
at the Property. Buyer shall repair damage to the Property resulting from Buyer's Diligence, and
Buyer shall and does hereby agree to indemnify and hold Seller harmless from any and all
liabilities, claims, losses, or damages, including, but not limited to, court costs and attorneys' fees,
which may be incurred by Seller as a direct result of Buyer's Diligence, but such indemnification
shall not apply to the mere discovery of existing conditions or the acts or omissions of any person
or party other than Buyer, and/or Buyer's agents, employees or contractors.. Buyer's indemnity
and hold harmless obligation shall survive cancellation of this Agreement or COE for a period of
six (6) months.


P: PUBLIC/PROJECTFILES/510TELSHOR/DISPOSTION PSA DRAFT 1/30/22
23-03004-cgb Doc#139-18 Filed 05/28/25 Entered 05/28/25 18:09:38 Exhibit 18. Email
                        from Carruth to Rice Pg 8 of 43


         9.     Buyer's Termination Right. Buyer shall have the right, at any time on or prior to
the expiration of the Inspection Period to terminate this Agreement for no reason or any reason at
all, by delivering written notice to Seller and Escrow Agent on or before the expiration of the
Inspection Period, in which event, this Agreement shall be terminated, whereupon the Earnest
Money Deposit shall be returned immediately to Buyer and, except as otherwise provided in this
Agreement, neither of the Parties shall have any further liability or obligation under this
Agreement.

       10.     Close of Escrow. The COE shall occur on that date which is fifteen (15) days after
the expiration of the Buyer's Inspection Period (the "Closing Date").

        11.       Closing Prorations and Costs.

                 (a)    Insurance, taxes, special assessments, utilities, or any other costs related to
the Property shall be prorated between Seller and Buyer at Closing only if and to the extent such
costs are not borne by Tenant pursuant to the Lease, but any the same which are not the
responsibility of the Tenant and which predate the Closing Date shall be the responsibility of
Seller. Any such costs that are not borne by Tenant pursuant to the Lease shall be prorated as of
the Closing Date. All rents paid or payable for the month in which the Closing occurs pursuant to
the Lease shall be prorated on a per diem basis as of the Closing Date. All such items attributable
to the period up to the Closing Date shall be credited or charged to Seller. All such items
attributable to the period on and after the Closing Date shall be credited or charged to Buyer. At
the Closing, Buyer will be credited with the full amount of all security deposits paid by Tenant, if
any, to the extent not previously applied by Seller in accordance with the Lease. Seller shall be
credited with the full amount of any refundable deposits paid in connection with contracts with
utility providers or vendors that are assumed by Buyer; provided, that such providers and vendors
acknowledge that such deposits are held, as of the Closing, for Buyer's account. Seller shall not
receive any credit at Closing for rents that have not been collected as of Closing. Buyer will pay
over to Seller any rents received by Buyer after the Closing attributable to the period prior to the
Closing Date (determined on the basis of applying rents received to the most recently accrued rent
first), after deduction by Buyer of all expenses incurred in collecting same. If Closing occurs on
or after the twenty-fourth (241h) day of the calendar month, the monthly scheduled rent amount(s)
payable to the landlord under the Lease for the full calendar month following the month in which
Closing occurs will be credited to Buyer at Closing (and, in such event, Seller will be entitled to
receive and retain such credited amounts when paid by Tenant). Seller shall be required to deliver
to Escrow Agent at COE such affidavits, documents, and security that Escrow Agent may
reasonably require so that Escrow Agent can insure title to the Property free and clear of the lien
of any state or local tax, and the performance of Seller's obligation set forth in this sentence shall
be a condition to Buyer's obligation to purchase the Property.

               (b)     Seller and Buyer shall be responsible for the payment of costs and expenses
incurred by Seller and Buyer in connection with the Transaction as follows:

                       (i)      Seller shall pay: (i) any and all municipal, county and state
documentary transfer taxes due on the transfer of the Real Property from Seller to Buyer, (ii) the
costs of releasing all liens, judgments, and other encumbrances that are to be released and of
recording such releases, (iii) any costs associated with the delivery of the Report, and the cost of


P: PUBLIC/PROJECTFILES/510TELSHOR/DISPOSTION PSA DRAFT 1/30/22
23-03004-cgb Doc#139-18 Filed 05/28/25 Entered 05/28/25 18:09:38 Exhibit 18. Email
                        from Carruth to Rice Pg 9 of 43



the standard coverage and extended coverage portion of the Owner's Policy, any endorsements
which are the obligation of Seller pursuant to Section 6(a); (iv) the cost of the Survey, and (v) one-
half (1/2) of any escrow fee charged by Escrow Agent.

                         (ii)   Buyer shall pay: (i) any endorsements to the Owner's Policy costs
for an extended coverage policy and any endorsements thereto, except endorsements which are the
obligation of Seller pursuant to Section 6(a), (ii) the standard coverage portion of Buyer's lender's
title policy (if any) and any endorsements thereto, and (iii) one-half (1/2) of any escrow fee charged
by Escrow Agent.

                        (iii)   Any other closing costs not specifically designated as the
responsibility of either Party to this Agreement shall be paid by Seller and Buyer according to the
usual and customary allocation of the same in the jurisdiction in which the Property is located.
Except as otherwise set forth in this Agreement, Seller and Buyer will each be solely responsible
for and bear all of their own respective expenses, including, without limitation, expenses of legal
counsel. Seller agrees that all closing costs payable by Seller shall be deducted from Seller's
proceeds otherwise payable to Seller at COE. Buyer shall deposit with Escrow Agent sufficient
cash to pay all of Buyer's closing costs.

                (c)      If, after COE, the Parties discover any errors in adjustments and
apportionments or additional information becomes available which would render the closing
prorations inaccurate, the same shall be corrected as soon after their discovery as possible. The
provisions of this Section 11(c) shall survive COE except that no adjustment shall be made later
than one (1) year after COE unless prior to such date the Party seeking the adjustment shall have
delivered a written notice to the other Party specifying the nature and basis for such claim;
provided, however, if an adjustment is sought due to the fact that current tax bills with respect to
the Property had not yet been issued as of COE, the provisions of this Section 11(c) shall survive
with respect to any closing proration of real property taxes until thirty (30) days after Buyer's
receipt of tax bills for the period of time during which COE occurred. If any such claim is valid,
the Party against whom the claim is sought shall have ten (10) days in which to remit any
adjustment due.

       12.     Seller's Representations and Warranties. Seller hereby represents and warrants
to Buyer as of the Effective Date and again as of COE, and subject to Section 40 below, that:

                (a)    Seller is a limited liability company duly organized, validly existing and in
good standing under the laws of the State of Texas. Seller has the full power and lawful authority
to enter into and carry out the terms and conditions of this Agreement and to execute and deliver
all documents which are contemplated by this Agreement; and all actions necessary to confer such
power and authority upon the persons executing this Agreement and all documents which are
contemplated by this Agreement to be executed on behalf of Seller have been taken. Seller is not a
"foreign person" within the meaning of Section 1445 of the Internal Revenue Code of 1986, as
amended.

                 (b)    Seller's organizational documents and applicable laws do not in any way
prohibit, limit, or otherwise affect the right or power of Seller to enter into and perform all of the
terms and covenants of this Agreement. Seller is not a party to or bound by any contract,



P: PUBLIC/PROJECTFILES/510TELSHOR/DISPOSTIONPSA DRAFT 1/30/22
23-03004-cgb Doc#139-18 Filed 05/28/25 Entered 05/28/25 18:09:38 Exhibit 18. Email
                        from Carruth to Rice Pg 10 of 43



agreement, indenture, trust agreement, note, obligation or other instrument that could prohibit,
limit, or otherwise affect the same. No consent, authorization, or approval of, or other action by,
and no notice to or filing with, any governmental agency or any other person are required for the
due execution, delivery, and performance by Seller of this Agreement or any of the terms and
covenants contained in this Agreement.

                 (c)     the execution, delivery and performance of this Agreement do not and will
not result in the creation or imposition of any lien or other encumbrance upon the assets of Seller,
nor will this transaction in any way violate any other agreements to which Seller is a party.

                (d)     there are no unrecorded leases, liens or encumbrances which may affect title
to the Property (other than the Lease); any existing financing secured by the Property or any part
thereof shall be satisfied and discharged in full at or prior to COE and any liens or encumbrances
relating thereto shall be terminated and released of record at or prior to COE; and Seller does not
have any defeasance, lender approval or prepayment obligations with respect to any existing
financing which will delay COE;

               (e)     to Seller's knowledge, no notice of violation has been issued with regard to
any applicable regulation, ordinance, requirement, covenant, condition, or restriction relating to
the present use or occupancy of the Property by any person, authority or agency having
jurisdiction, which violation has not been cured.

                (f)     to Seller's knowledge, there are no intended public improvements which
will or could result in any charges being assessed against the Property which will result in a lien
upon the Property, and there is no impending or contemplated condemnation or taking by inverse
condemnation of the Property, or any portion thereof, by any governmental authorities.

                (g)     there are no suits or claims pending or to Seller's knowledge, threatened
with respect to or in any manner affecting the Property, nor does Seller know of any circumstances
which should or could reasonably form the basis for any such suits or claims which have not been
disclosed in writing to Buyer by Seller.

                (h)     Seller has not taken any action before any governmental authority having
jurisdiction thereover, the object of which would be to change the present zoning of or other land-
use limitations, upon the Property, or any portion thereof, or its potential use, and, to Seller's
knowledge, there are no pending proceedings, the object of which would be to change the present
zoning or other land-use limitations.

               (i)     except as set forth in Seller's Diligence Materials, Seller has no actual
knowledge that there exists or has existed, and Seller itself has not caused any generation,
production, location, transportation, storage, treatment, discharge, disposal, release or threatened
release upon, under or about the Property of any Hazardous Materials. "Hazardous Materials" shall
mean any flammables, explosives, radioactive materials, hazardous wastes, hazardous and toxic
substances or related materials, asbestos or any material containing asbestos (including, without
limitation, vinyl asbestos tile), or any other substance or material, defined as a "hazardous
substance" by any federal, state, or local environmental law, ordinance, rule or regulation
including, without limitation, the Federal Comprehensive Environmental Response Compensation



P: PUBLIC/PROJECTFILES/510TELSUOR/DISPOSTION PRA DRAFT 1/30/22
23-03004-cgb Doc#139-18 Filed 05/28/25 Entered 05/28/25 18:09:38 Exhibit 18. Email
                        from Carruth to Rice Pg 11 of 43


and Liability Act of 1980, as amended, the Federal Hazardous Materials Transportation Act, as
amended, the Federal Resource Conservation and Recovery Act, as amended, and the rules and
regulations adopted and promulgated pursuant to each of the foregoing;

                       except as set forth in Seller's Diligence Materials, to Seller's actual
knowledge, there is not now, nor has there ever been, on or in the Property or any portion thereof
underground storage tanks, any asbestos-containing materials, or any polychlorinated biphenyls,
including those used in hydraulic oils, electric transformers, or other equipment.

               (k)     to Seller's knowledge, there are no proceedings pending for the increase of
the assessed valuation of the Property or any portion thereof.

               (m)     to Seller's knowledge, all certificates, permits and licenses from any
governmental authority having jurisdiction over the Property and/or any approvals from any third
parties under any recorded title instruments which encumber the Property which are necessary to
permit the lawful use and operation of the Improvements and the Property as they presently exist,
have been obtained (or will be obtained prior to the COE), and are now, and will continue to be at
all times before the COE, in full force and effect, and, to Seller's knowledge, there is no pending
threat of modification, cancellation, termination or expiration of any such certificate, permit,
approval or license;

                (n)     with respect to the Lease: (i) the Lease is in full force and effect, (ii) Seller
is not in default under the Lease, (iii) Tenant is not in default under the Lease; (iv) Seller has not
received any rent paid by Tenant more than thirty (30) days in advance, (v) except as may be set
forth therein, no rent concessions have been provided by Seller or asserted by Tenant, (vi) neither
the rents nor the Lease have been assigned, transferred or hypothecated by Seller (or any such
assignment, transfer or hypothecation shall be terminated and released at Closing), (vii) the Lease
delivered with the Seller's Diligence Materials is a true, accurate and complete copy; (viii) Seller
has not received any notice or correspondence from Tenant or Tenant's agents indicating Tenant's
desire, willingness or intent to amend, modify, assign or terminate the Lease nor any notice or
correspondence requesting the consent of Seller to any of the foregoing, (ix) the contingencies in
Section 7 (a) and (b) of the Lease have been satisfied and/or waived in writing by Tenant, (x) the
contingency set forth in Section 7 (c) of the Lease has been satisfied and/or waived in writing by
Seller and Tenant, Seller has obtained all Approvals from the Approval Period, and Seller shall
deliver evidence of the same to Buyer as part of the Seller's Diligence Materials, (xi) all of
Landlord's Preliminary Site Work, Landlord's Secondary Site Work, and any and all other
Landlord's Work, relating to the Premises, the Adjacent Parcel, the Development and/or Common
Areas (as such terms are defined in the Lease), have been completed by seller in accordance with
the Lease prior to the occurrence of any deadlines and without the imposition of any free rent or
termination remedies by Tenant, and has been accepted by Tenant and any and all items on the
Final Punchlist have been completed by Landlord in accordance with the Lease prior to the
occurrence of any deadlines and without the imposition of any free rent or termination remedies
by Tenant and Seller shall deliver evidence of the same to Buyer as part of the Seller's Diligence
Materials; (xii) Seller has delivered to the as-built survey to Tenant as and when required by
Section 7 (f) of the Lease and Seller shall deliver evidence of the same to Buyer as part of the
Seller's Diligence Materials; (xiii) Tenant does not have any right of first offer or first refusal
under the Lease; (xiv) the current annual Base Rent due under the Lease, upon the occurrence of


P: PUBLIC/PROJECTFILES/510TELSHOR/DISPOSTIONPSADRAFT 1/30/22
23-03004-cgb Doc#139-18 Filed 05/28/25 Entered 05/28/25 18:09:38 Exhibit 18. Email
                        from Carruth to Rice Pg 12 of 43


the Rent Commencement Date under the Lease will be $140,000.00 and will not be subject to any
reconciliation or adjustment based on the actual cost to acquire or develop the Premises, the Rent
Commencement Date under the Lease is expected to occur by no later than April 30, 2022, the
expiration date for the initial Term of the Lease is ten (10) years following the Rent
Commencement Date, and Landlord is not currently holding a security deposit from the Tenant
under the Lease, (xv) Seller has no outstanding obligation that will not be satisfied by Closing (a) to
construct, or pay for, any tenant fixtures or improvements under the Lease, or (b) to pay any leasing
or brokerage commission(s) in connection with the Lease..

                (o)    with respect to any applicable reciprocal easement agreement or declaration
of covenants, conditions and/or restrictions (collectively, the "CC&Rs"): (i) all amounts due and
payable by under the CC&Rs with respect to the Property have been paid in full, (ii) no default of
Seller or Tenant exists under any of the CC&Rs, and (iii) to Seller's knowledge, no default of any
other party exists under any of the CC&Rs, and Seller shall request an obtain an estoppel certificate
from all applicable parties to said CC&Rs as a condition to Buyer's obligation to close this
transaction;

               (p)    Seller has in place and in force such insurance with such coverages and in
such amounts that are equal to or greater than those customarily maintained by similar businesses
in the same geographic area in which the Property is located;

               (q)     the following documents are duly executed and filed of record against the
"Adjacent Parcel" (as defined in the Lease), the "Development" (as defined in the Lease), and the
"Common Areas" (as defined in the Lease), which contain provisions which provide for the owner
of the Property to enforce any and all of the provisions in the Lease which relate to said Adjacent
Parcel, Development and/or Common Areas, including, without limitation, the following
provisions of the Lease: Section 1 (b), 1 (d), 11 (b), 14 (f), 21 (a), 28 (a), and 31 (d): Instrument
# 2007993 "Amendment to Declaration" Recorded April 1, 2020; Instrument # 1825387 Recorded
October 23, 2018.

               (r)    the Premises is a separately assessed tax parcel with a separate tax
identification number and Seller will provide evidence of same as part of Seller's Diligence
Materials; and

               (s)   any and all representations and warranties contained in the Lease made by
the Landlord thereunder to Tenant as relates to the Development are hereby made to Buyer.

                (t)    Seller is currently the Debtor in a Chapter 11 reorganization proceeding,
 Case No. 21-30107, In re PDG Prestige, Inc., (the "Bankruptcy Case") pending in the United
 States Bankruptcy Court for the Western District of Texas, El Paso Division (the "Court"). Prior
 to confirmation of a Chapter 11 plan, Seller will be required to obtain approval of the Court to
 proceed to Closing (the "Bankruptcy Approval"), which Bankruptcy Approval Seller will timely
 seek with due diligence and in good faith, and for which Bankruptcy Approval the Seller expects
 no opposition from any creditor or party in interest. The approval process will require disclosure
 of the sales price and/or this Agreement. Following the earlier to occur of (i) Seller's receipt of
 the Bankruptcy Approval of this sale pursuant to a Section 363 sale or (ii) confirmation of a
 Chapter 11 plan, as evidenced by an Order from the Court, no further approval by the Court of



P: PUBLIC/PROJECTFILES/510TELSHOR/DISPOSTION RSA DRAFT 1/30/22
23-03004-cgb Doc#139-18 Filed 05/28/25 Entered 05/28/25 18:09:38 Exhibit 18. Email
                        from Carruth to Rice Pg 13 of 43


 this Agreement and Closing will be required. Seller will notify Buyer of the setting of the
 confirmation hearing and of the entry of the order on the confirmation of the Chapter 11 plan,
 both of which are anticipated to occur in early March, 2022, and Seller shall otherwise keep Buyer
 apprised as to the status of the Bankruptcy Case as requested by Buyer.

        If, prior to COE, Seller becomes aware of any fact or circumstance that would materially
change a representation or warranty of Seller in this Agreement, then Seller shall promptly, and in
all events at least five (5) days prior to the Closing Date (which date shall be extended if necessary
to give Buyer five days to review such material change), give written notice of such changed fact
or circumstance to Buyer. If, prior to COE, upon Seller's notice or otherwise, Buyer becomes
aware of the untruth or inaccuracy of, or facts or circumstances that would change materially, any
representation or warranty of Seller in this Agreement or would constitute a material adverse
change in the Property or its future use or operation, then Buyer shall have the option of: (i)
waiving such breach of representation or warranty or material adverse change and completing its
purchase of the Property pursuant to this Agreement; (ii) reaching agreement with Seller to adjust
the terms of this Agreement to compensate Buyer for such change, but only to the extent Seller
agrees in its sole discretion; or (iii) terminating this Agreement and receiving reimbursement by
Seller for Buyer's actual, verifiable out-of-pocket costs and expenses incurred with respect to
Buyer's Diligence (including, without limitation, reasonable attorneys' fees). Upon a termination
of the Agreement pursuant to clause (iii) in the forgoing sentence, the Earnest Money Deposit shall
be paid immediately by Escrow Agent to Buyer and, except as otherwise provided in this
Agreement, neither of the Parties shall have any further liability or obligation hereunder. Seller
shall and does hereby indemnify against and hold harmless Buyer from any loss, damage, liability,
and expense, together with all court costs and attorneys' fees, if awarded by a court of law, which
Buyer may incur, by reason of any material misrepresentation by Seller or any material breach of
any of Seller's warranties or covenants. All representations and warranties of Seller made in this
Agreement, and Seller's indemnity and hold harmless obligations, shalt survive COE for a period
of one (1) year.


        13.      Buyer's Representations and Warranties. Buyer hereby represents and warrants
to Seller as of the Effective Date and again as of COE that:

                (a)    In the event that prior to COE, the Buyer, through a valid assignment, is an
entity, Buyer is duly formed and validly existing and authorized to transact business in and under
the laws of the State of New Mexico and the individuals executing this Agreement on behalf of
Buyer are duly authorized to execute and deliver this Agreement and all documents that are
contemplated by this Agreement: and

       Buyer shall and does hereby indemnify against and hold Seller harmless from any loss,
damage, liability, and expense, together with all court costs and attorneys' fees, if awarded by a
court of law, which Seller may incur, by reason of any material misrepresentation by Buyer or any
material breach of any of Buyer's warranties or covenants. All representations and warranties of
Buyer made in this Agreement, and Buyer's indemnity and hold harmless obligations, shall survive
COE for a period of six (6) months




P: PUBLIC/PROJECTFILES/510TELSHORMISPOSTIONPS,4 DRAFT 1/30/22
23-03004-cgb Doc#139-18 Filed 05/28/25 Entered 05/28/25 18:09:38 Exhibit 18. Email
                        from Carruth to Rice Pg 14 of 43



         14.     Anti-Terrorism. Each Party hereby represents that, to the actual knowledge of
such Party, neither such Party nor any of such Party's affiliated entities, is in violation of any laws
relating to terrorism or money laundering ("Anti-Terrorism Laws"), including Executive Order
No. 13224 on Terrorist Financing, effective September 24, 2001 (the "Executive Order"), and the
United and Strengthening America by Providing Appropriate Tools Required to Intercept and
Obstruct Terrorism Act of 2001, Public Law No. 107-56. Each Party hereby further represents
that, neither such Party, nor to the actual knowledge of such Party, any of such Party's affiliated
entities, or their respective brokers or agents acting or benefiting in any capacity in connection
with the purchase of the Property, is any of the following: (i) a person or entity that is listed in the
annex to, or is otherwise subject to the provisions of, the Executive Order; (ii) a person or entity
owned or controlled by, or acting for or on behalf of, any person or entity that is listed in the annex
to, or is otherwise subject to the provisions of, the Executive Order; (iii) a person or entity with
which a Party is prohibited from dealing or otherwise engaging in any transaction by any Anti-
Terrorism Laws; (iv) a person or entity that commits, threatens, or conspires to commit or supports
"terrorism" as defined in the Executive Order; or (v) a person or entity that is named as a "specially
designated national and blocked person" on the most current list published by the U.S. Treasury
Department Office of Foreign Asset Control at its official website or any replacement website or
other replacement official publication of such list. Neither Party nor, to the actual knowledge of
such Party, any of its brokers or other agents acting in any capacity in connection with the purchase
of the Property: (x) conducts any business or engages in making or receiving any contribution of
funds, goods or services to or for the benefit of any person as described above; (y) deals in, or
otherwise engages in any transaction relating to, any property or interests in property blocked
pursuant to the Executive Order; or (z) engages in or conspires to engage in any transaction that
evades or avoids, or has the purpose of evading or avoiding, or attempts to violate, any of the
prohibitions set forth in any of the Anti-Terrorism Laws.

        15.     Seller's Covenants During Contract Period. Seller hereby covenants to Buyer as
of the Effective Date that:

                (a)      From and after the Effective Date, Seller shall: (i) not execute, modify,
terminate or amend the Lease, and/or approve any new leases or any contracts or commitments of
any kind affecting the Property, or any interest therein, without Buyer's written approval (which
approval may be granted or withheld in Buyer's sole and absolute discretion); (ii) not encumber
the Property with any liens, encumbrances or other instruments creating a cloud on title or securing
a monetary obligation with the Property; (iii) not, without the prior written consent of Buyer, take
any action before any governmental authority having jurisdiction thereover, the object of which
would be to change the present zoning of or other land-use limitations, upon the Property, or any
portion thereof, or its potential use; (iv) continue to operate the Property as heretofore operated by
Seller subject to Buyer's rights under this Agreement to direct specific activities of Seller; (v) not
make or affirmatively consent to any capital improvements or any material physical changes to the
Real Property without the Buyer's written consent, which consent may be granted or withheld in
Buyer's sole and absolute discretion; and (vi) upon the reasonable request of Buyer, require Tenant
to deliver such documentation and information as landlord is permitted to obtain, and/or Tenant is
required to deliver, pursuant to the terms of the Lease.




P: PUBLIC/PROJECTFILES/510TELSHOR/DISPOSTION PS'A DRAFT 1/30/22
23-03004-cgb Doc#139-18 Filed 05/28/25 Entered 05/28/25 18:09:38 Exhibit 18. Email
                        from Carruth to Rice Pg 15 of 43



               (b)    From and after the Effective Date, Seller shall, or shall cause Tenant to: (i)
maintain the Property in its current condition; and (ii) perform required and routine repairs and
maintenance to, and make necessary replacements of, each tangible portion of the Property
(whether real or personal) as the relevant conditions require.

                (c)    Seller shall reasonably cooperate with Buyer in timely providing
information requested by Buyer that is readily available to Seller or within Seller's control. In
addition, each Party agrees to provide the other with such consents as may reasonably be necessary
so that the other may independently confirm information provided to it by third parties. Seller and
Buyer shall cooperate with each other and exercise commercially reasonably efforts to obtain, as
of the Closing Date, all approvals, permits, consents from, and provide all notices to, any third
party and any governmental or regulatory authority, which are required in connection with the
execution, delivery, or performance of this Agreement.

                (d)      Until the Closing Date or prior termination of this Agreement by the Parties,
Seller shall not offer the Property for sale publicly or otherwise solicit, make, pursue, negotiate, or
accept offers for the sale of the Property to or from any party.

        16.     Buyer's Conditions Precedent. In addition to all other conditions precedent set
forth in this Agreement, Buyer's obligations to perform under this Agreement and to close escrow
are expressly subject to the following:

               (a)     the delivery by Seller to Escrow Agent, for delivery to Buyer at COE, of the
executed original Transaction Documents and such further documents as reasonably may be
required in order to fully and legally close this Transaction, including a tenant notice letter in the
form attached hereto as Exhibit G and any required assignments and assumptions of operating
agreements related to the Property.

                (b)    the issuance of the Owner's Policy (or a written commitment therefor)
subject only to those matters approved or deemed approved by Buyer pursuant to this Agreement
(collectively, the "Permitted Exceptions").

                (c)     within ten (10) days following the Effective Date, Seller shall request a
tenant estoppel certificate with respect to the Lease addressed to Buyer, its lender, and their
respective successors and assigns, reasonably acceptable to Buyer, which estoppel certificate: (i)
shall be substantially in the form specified by the Lease or, if no form is specified by the Lease, in
a commercially reasonable form to be provided by Buyer; (ii) shall be acknowledged by any
guarantor of the Lease; (iii) shall not identify any amendment, assignment, modification, or other
lease-related documentation which has not been previously provided to Buyer; and (iv) shall not
identify any landlord defaults or other claims or exceptions taken by Tenant, or in the event the
estoppel certificate identified landlord defaults or other claims or exceptions taken by Tenant,
Seller shall have promptly resolved same to Buyer's and Tenant's reasonable satisfaction.
Provided that Seller uses commercially reasonable efforts to obtain the estoppel certificate, the
Parties agree that any failure by Seller to obtain the estoppel certificate shall in no event be a Seller
default under this Agreement; but the receipt of a duly executed estoppel by Tenant in form
approved by Buyer and date no sooner than fifteen (15) days prior to Closing shall be an express
condition to Buyer's obligation to close this transaction.


P: PUBLIC/PROJECTFILES/510TELSHOR/DISPOSTIONPSA DRAFT 1/30/22
23-03004-cgb Doc#139-18 Filed 05/28/25 Entered 05/28/25 18:09:38 Exhibit 18. Email
                        from Carruth to Rice Pg 16 of 43



                (d)     if reasonably requested by Buyer, the deposit by Seller with Buyer not later
than three (3) business days prior to COE of (i) an original estoppel certificate executed by all
other parties to any CC&Rs and addressed or certified to Buyer stating that such CC&R is in full
force and effect and is not modified (except as disclosed in such estoppel certificate) and, to the
best knowledge of the party giving the estoppel, the other party or parties thereto is/are not in
default under the applicable CC&R and all amounts, if any, owing under the applicable CC&R
have been paid in full, and (ii) a subordination, non-disturbance and attornment agreement
executed by Tenant, in form and substance reasonably acceptable to Tenant, for the benefit of
Buyer's lender (if any). Provided that Seller uses commercially reasonable efforts to obtain the
estoppel certificate, the parties agree that any failure by Seller to obtain any CC&R estoppel or
SNDA shall in no event be a Seller Default.

              (e)     the deposit with Escrow Agent of an executed affidavit of Seller and such
other documentation as may be reasonably required by Escrow Agent to allow for the deletion of
the mechanics' lien exception from the Owner's Policy.

                (0     there shall have been no material adverse change to the financial condition
of Tenant, nor any material adverse change to the Property, nor any fact, circumstance, condition,
or occurrence which would materially and adversely affect the marketability, financing, or
insurability of the Property.

               (g)    all (i) representations and warranties of Seller set forth herein shall have
been true and correct in all respects when made, and (ii) covenants, agreements and conditions
required to be performed or complied with by Seller prior to or at the time of COE in connection
with the Transaction shall have been duly performed or complied with by Seller prior to or at such
time or waived in writing by Buyer.

                (h)     delivery to Buyer of certificates evidencing the insurance coverage, limits,
and policies to be carried by Tenant under and pursuant to the terms of the Lease.

                (i)      except with respect to the Bankruptcy Case, there has been no "Insolvency
Event" with respect to either Seller or Tenant. As used in this subsection (i), an "Insolvency Event"
shall have occurred if either Seller or Tenant becomes insolvent within the meaning of the United
States Bankruptcy Code, 11 U.S.C. Sec. 101 et seq., as amended (the "Bankruptcy Code"), files or
notifies Seller or any affiliate of Seller that it intends to file a petition under the Bankruptcy Code,
initiates a proceeding under any similar law or statute relating to bankruptcy, insolvency,
reorganization, winding up or adjustment of debts (collectively, hereinafter, an "Action"), becomes
the subject of either a petition under the Bankruptcy Code or an Action, or is not generally paying its
debts as the same become due; and

                        delivery to Buyer of originals of the Contracts, Warranties and Permits, if
any, in the possession of Seller or Seller's agents, including, without limitation, any warranties
covering the roof or any other part of the Improvements, and any correspondence with respect
thereto, together with such non-proprietary leasing and property manuals, files and records which
are material in connection with the continued operation, leasing and maintenance with respect to
the Property.




P: PUBLIC/PROJECTFILES/510TELSHORIDISPOSTION PSA DRAFT 1/30/22
23-03004-cgb Doc#139-18 Filed 05/28/25 Entered 05/28/25 18:09:38 Exhibit 18. Email
                        from Carruth to Rice Pg 17 of 43


                 (k)      the occurrence of the Rent Commencement Date under the Lease.

                 (1)      Seller has obtained Bankruptcy Approval if required at the time of sale.

If the foregoing conditions have not been satisfied by the specified date or COE as the case may
be, then Buyer shall have the right, at Buyer's sole option, by giving written notice to Seller and
Escrow Agent, to (i) terminate this Agreement as it relates to the Property, whereupon the Earnest
Money Deposit shall be paid immediately by Escrow Agent to Buyer and, except as otherwise
provided in this Agreement, neither of the Parties shall have any further liability or obligation
under this Agreement, provided that if the applicable failure of a condition is due to the breach or
default by a Party to this Agreement, then the non-defaulting Party shall also have such rights and
remedies as are provided for under this Agreement as a result of such breach or default, or (ii)
extend such specified date or COE, as applicable, for the Property for such amount of time as
Buyer deems reasonably necessary to allow Seller to satisfy such conditions. In any event, Buyer's
consent to the closing of the Transaction as to the Property pursuant to this Agreement shall waive
any remaining unfulfilled conditions for the benefit of Buyer with respect thereto.

       17.     Seller's Condition Precedent. Notwithstanding anything in this Agreement to the
contrary, Seller's obligation to sell the Property shall be subject to and contingent upon the due
performance by Buyer of each and every undertaking and agreement to be performed by Buyer
hereunder.

        18.     Brokerage Commissions and Finder's Fees. Seller and Buyer each represents to
the other that it has had no dealings, negotiations, or consultations with any broker, representative,
employee, agent or other intermediary in connection with this Agreement or the sale of the Property,
except CP Commercial Real Estate, Attn: Kirby Dederian ("Seller's Broker") and Lincoln Property
Company ("Buyer's Broker"). Seller's Broker and Buyer's Broker will be compensated by Seller
pursuant to the terms of a separate agreement between Seller and Seller's Broker, and Buyer's Broker,
as applicable, which compensation shall be deemed earned and shall be due and payable only if, as,
and when the sale contemplated by this Agreement is consummated. Buyer and Seller each hereby
agree to indemnify, defend, and hold the other harmless from any claim, liability, obligation, cost, or
expense (including attorneys' fees and expenses) for fees or commissions relating to Seller's sale, or
Buyer's acquisition, of the Property asserted against either party by any broker or other person (other
than Seller's Broker and Buyer's Broker) claiming by, through, or under the indemnifying party or
whose claim is based on the indemnifying party's acts. The provisions of this Section 18 shall
survive the Closing or any termination of this Agreement.

        19.     Assignment. This Agreement may not be assigned by Seller without the prior
written consent of Buyer, which consent may be granted or withheld in Buyer's sole and absolute
discretion. Buyer may assign its rights under this Agreement to an Affiliate of Buyer without
seeking or obtaining Seller's consent, and any other proposed assignment by Buyer shall require
Seller's consent, not to be unreasonably withheld, conditioned or delayed. For the purposes of this
paragraph, the term "Affiliate" means any entity that directly or indirectly controls, is controlled by, or is
under common control with Buyer, or Buyer's principals, and the term "control" means the power to direct
the management of such entity through voting rights, ownership or contractual obligations. Such
assignment shall not become effective until each assignee executes an instrument whereby such
assignee expressly assumes each of the obligations of Buyer under this Agreement, including



P: PUBLIC/PRDIECTFILES/510TELSHOR/DISPOSTION PSA DRAFT 1/30/22
23-03004-cgb Doc#139-18 Filed 05/28/25 Entered 05/28/25 18:09:38 Exhibit 18. Email
                        from Carruth to Rice Pg 18 of 43



specifically, without limitation, all obligations concerning the Earnest Money Deposit. Buyer may
also designate someone other than Buyer, as grantee and/or assignee, under the Transaction
Documents by providing written notice of such designation at least five (5) days prior to COE. No
assignment shall release or otherwise relieve Buyer from any obligations hereunder; provided,
however, with respect to any assignment, if COE occurs the assigning party (but not the assignee)
shall be relieved of all its obligations arising under this Agreement before, on and after COE.

        20.    Risk of Loss. Seller shall bear all risk of loss, damage or taking of the Property
which may occur prior to COE. In the event of any loss, damage or taking with respect to the
Property prior to COE, Buyer may, at Buyer's sole option, by written notice to Seller and Escrow
Agent, terminate this Agreement, whereupon the Earnest Money Deposit shall be paid
immediately to Buyer and, except as otherwise provided in this Agreement, neither of the Parties
shall have any further liability or obligation hereunder. In the alternative, Buyer may attempt to
negotiate an appropriate downward adjustment of the Purchase Price. If Seller and Buyer cannot
agree upon such a downward adjustment within a reasonable period (not to exceed ten (10) days
from the date Buyer receives notice of the loss) Buyer may terminate this Agreement as provided
above. In the event of any loss, damage or taking which does not result in a termination of this
Agreement, Seller shall at COE and as a condition precedent thereto, pay Buyer or credit Buyer
against the Purchase Price the amount of any insurance or condemnation proceeds, or assign to
Buyer, as of COE and in a forth acceptable to Buyer, all rights or claims for relief to the same, and
credit to Buyer an amount equal to the deductible (if any) under the insurance policy.

        21.     Remedies.
                (a)     Seller's Breach. If Seller breaches this Agreement, Buyer may, at Buyer's
sole option, either: (i) by written notice to Seller and Escrow Agent, terminate this Agreement,
whereupon the Earnest Money Deposit shall be paid immediately by Escrow Agent to Buyer,
Seller shall promptly reimburse to Buyer its reasonable out-of-pocket and third-party property
diligence expenses (including, without limitation, attorneys' fees) up to Fifty Thousand Dollars &
00/100, ($50,000.00) and, except as otherwise provided in this Agreement, neither of the Parties
shall have any further liability or obligation hereunder, or (ii) seek specific performance against
Seller in which event COE shall be automatically extended as necessary. Notwithstanding the
foregoing, if specific performance is unavailable as a remedy to Buyer because of Seller's
affirmative act or intentional omission, Buyer shall be entitled to pursue all rights and remedies
available at law or in equity. Seller hereby acknowledges and agrees that the provisions of this
Section 21(a) shall not limit any rights or remedies Buyer may have against Seller after COE
pursuant to any indemnification provisions of this Agreement or for any misrepresentation, breach
of warranty or default by Seller in any of its obligations under this Agreement, the Transaction
Documents, or any other documents to be entered into pursuant to this Agreement.

        (b)   Buyer's Breach. IF THE TRANSACTION FAILS TO CLOSE ON OR PRIOR
TO THE CLOSING DATE OR THE EXTENDED CLOSING DATE, AS APPLICABLE, DUE
TO A FAILURE BY BUYER TO PERFORM BUYER'S OBLIGATIONS UNDER THIS
AGREEMENT, AND SUCH FAILURE CONTINEUS FOR MORE THAN TEN (10) DAYS
FOLLOWING BUYER'S RECEIPT OF WRITTEN NOTICE FROM SELLER, THE ENTIRE
AMOUNT OF THE DEPOSIT, PLUS ACCRUED INTEREST, SHALL BE RETAINED BY
SELLER AS LIQUIDATED DAMAGES. BUYER AND SELLER HEREBY ACKNOWLEDGE



  PUBLIC/PROJECTFILES/510TELSHORMISPOSTION PSA DRAFT 1/30/22
23-03004-cgb Doc#139-18 Filed 05/28/25 Entered 05/28/25 18:09:38 Exhibit 18. Email
                        from Carruth to Rice Pg 19 of 43



AND AGREE THAT SELLER'S DAMAGES IN THE EVENT OF SUCH A BREACH OF THIS
AGREEMENT BY BUYER WOULD BE DIFFICULT OR IMPOSSIBLE TO DETERMINE,
THAT THE AMOUNT OF THE DEPOSIT PLUS ACCRUED INTEREST IS THE PARTIES'
BEST AND MOST ACCURATE ESTIMATE OF THE DAMAGES SELLER WOULD SUFFER
IN THE EVENT THE TRANSACTION PROVIDED FOR IN THIS AGREEMENT FAILS TO
CLOSE, AND THAT SUCH ESTIMATE IS REASONABLE UNDER THE CIRCUMSTANCES
EXISTING ON THE DATE OF THIS AGREEMENT. BUYER AND SELLER AGREE THAT
SELLER'S RIGHT TO RETAIN THE DEPOSIT PLUS ACCRUED INTEREST SHALL BE
THE SOLE REMEDY OF SELLER AT LAW IN THE EVENT OF A BREACH OF THIS
AGREEMENT BY BUYER.

         22.     Attorneys' Fees. If there is any litigation to enforce any provisions or rights arising
under this Agreement, the unsuccessful party in such litigation, as determined by the court, agrees
to pay the successful party, as determined by the court, all costs, and expenses, including, but not
limited to, reasonable attorneys' fees incurred by the successful party, such fees to be determined
by the court. For purposes of this Section 22, a Party will be considered to be the "successful party"
if (a) such Party initiated the litigation and substantially obtained the relief which it sought
(whether by judgment, voluntary agreement or action of the other Party, trial, or alternative dispute
resolution process), (b) such Party did not initiate the litigation and either (i) received a judgment
in its favor, or (ii) did not receive judgment in its favor, but the Party receiving the judgment did
not substantially obtain the relief which it sought, or (c) the other Party to the litigation withdrew
its claim or action without having substantially received the relief which it was seeking.

        23.      Notices.

                (a)    Except as otherwise required by law, any notice required or permitted
hereunder shall be in writing and shall be given by (i) personal delivery, (ii) deposit in the U.S.
Mail, certified or registered, return receipt requested, postage prepaid, (iii) any express or
overnight delivery service (e.g., Federal Express), delivery charges prepaid; (iv) facsimile; or (v)
electronic mail, in each case addressed to the Parties at the addresses set forth below, or at such
other address as a Party may designate in writing pursuant hereto, except that any notice of default
must simultaneously be sent by the method set forth in subparagraph (iii) above:




P: PUBLIC/PROJECTFILES/510TELSHOR/DISPOSTION PSd DRAFT 1/30/22
23-03004-cgb Doc#139-18 Filed 05/28/25 Entered 05/28/25 18:09:38 Exhibit 18. Email
                        from Carruth to Rice Pg 20 of 43



if to Seller:                                      Mesilla Valley Ventures, LLC,
                                                   c/o PDG Prestige, Inc.
                                                   Attn: Michael J. Dixson
                                                   154 N. Festival
                                                   Building D
                                                   El Paso, TX 79912
                                                   Tel.: (575) 532-9779
                                                   Fax: (575) 521-9330
                                                   E-mail: mdixson@pdgnm.com

with copies to:                                    WKPZ
                                                   Attn: Jeff Carruth
                                                   Phone: 214-552-7242
                                                   Email: jcarruth@wkpz.com

if to Buyer:                                       LPC RETAIL, LLC
                                                   c/o Lincoln Property Company, Retail Division
                                                   2000 McKinney Ave., Suite 1000
                                                   Dallas, TX 75201
                                                   Attention: Matthew Gallo, COO, Senior Vice
                                                   President
                                                   Phone: 214.740.3482
                                                   E-Mail: mgallo@lpc.com

with copies to:                                    Chaiken Legal Group, P.C.
                                                   5960 W. Parker Rd., Ste. 278 — 194
                                                   Plano, TX 75093
                                                   Attention: Michael J. Chaiken, Esq.
                                                   Telephone: (214) 751-3433, Ext. 221
                                                   Facsimile: (214) 751-3438
                                                   E-mail: mchaiken@chaikenlegalgroup.com

if to Escrow Agent:                                Southwestern Abstract & Title Co.
                                                   c/o Gricel Chavez
                                                   1125 S. Main Street
                                                   Las Cruces, NM 88005
                                                   575-523-8561 Tel
                                                   575-526-8390 Fax
                                                   Email: justin@swatic.com
                                                          Gricel@swatic.com

                (b)      Notice shall be deemed to have been delivered on (i) the date on which the
notice is received, if notice is given by personal delivery, (ii) the third business day following the
day of deposit of such notice with the U.S. Mail, if notice is given by certified or registered mail,
return receipt requested; (iii) the next business day, if notice is delivered by a reputable express
overnight delivery service; and (iv) the date on which confirmation of facsimile or electronic mail



P: PUBLIC/PROJECTFILES/510TELSHOR/DISPOSTION PSA DRAFT 1/30/22
23-03004-cgb Doc#139-18 Filed 05/28/25 Entered 05/28/25 18:09:38 Exhibit 18. Email
                        from Carruth to Rice Pg 21 of 43



is received, if notice is given by facsimile or electronic mail. If escrow has opened, a copy of any
notice given to a party shall also be given to Escrow Agent by regular U.S. Mail or by any other
method provided for herein.

       24.     Approvals. Concerning all matters in this Agreement requiring the consent or
approval of any Party, the Parties agree that any such consent or approval shall not be unreasonably
withheld unless otherwise provided in this Agreement.

        25.   Additional Acts. The Parties agree to execute promptly such other documents and
to perform such other acts as may be reasonably necessary to carry out the purpose and intent of
this Agreement.

       26.      Governing Law. This Agreement shall be construed and interpreted in accordance
with and shall be governed and enforced in all respects according to the laws of the state in which
the Property is located, without regard to any conflict of laws principles.

        27.     Construction. The terms and provisions of this Agreement represent the results of
negotiations among the Parties, each of which has been represented by counsel of its own choosing,
and neither of which has acted under any duress or compulsion, whether legal, economic, or
otherwise. Consequently, the terms and provisions of this Agreement shall be interpreted and
construed in accordance with their usual and customary meanings, and the Parties each hereby
waive the application of any rule of law which would otherwise be applicable in connection with
the interpretation and construction of this Agreement that ambiguous or conflicting terms or
provisions contained in this Agreement shall be interpreted or construed against the Party whose
attorney prepared the executed Agreement or any earlier draft of the same.

        28.    Time of Essence. Time is of the essence of this Agreement. However, if this
Agreement requires any act to be done or action to be taken on a date which is a Saturday, Sunday
or legal holiday, such act or action shall be deemed to have been validly done or taken if done or
taken on the next succeeding day which is not a Saturday, Sunday or legal holiday, and the
successive periods shall be deemed extended accordingly.

        29.     Interpretation. If there is any specific and direct conflict between, or any
ambiguity resulting from, the terms and provisions of this Agreement and the terms and provisions
of any document, instrument or other agreement executed in connection herewith or in furtherance
hereof, including any Exhibits hereto, the same shall be consistently interpreted in such manner as
to give effect to the general purposes and intention as expressed in this Agreement which shall be
deemed to prevail and control.

        30.    Headings. The headings of this Agreement are for reference only and shall not limit
or define the meaning of any provision of this Agreement.

        31.    Fax and Counterparts. This Agreement may be executed by facsimile or
electronically mailed .pdf file, and/or in any number of counterparts. Each Party may rely upon
any facsimile, electronically mailed .pdf file or counterpart copy as if it were one original
document.




P: PUBLIC/PROJECTFILES/510TELSHOR/DISPOSTION PSA DRAF7'1/30/22
23-03004-cgb Doc#139-18 Filed 05/28/25 Entered 05/28/25 18:09:38 Exhibit 18. Email
                        from Carruth to Rice Pg 22 of 43



        32.    Incorporation of Exhibits. All Exhibits to this Agreement are fully incorporated
herein as though set forth at length herein.

       33.     Severability. If any provision of this Agreement is unenforceable, the remaining
provisions shall nevertheless be kept in effect.

        34.    Entire Agreement. This Agreement contains the entire agreement between the
Parties and supersedes all prior agreements, oral or written, with respect to the subject matter
hereof. The provisions of this Agreement shall be construed as a whole and not strictly for or
against any Party.

        35.      Intentionally Omitted.

        36.      Privilege Taxes. Seller represents, warrants, and covenants to Buyer that all state
and local transaction privilege, sales, excise, use or similar taxes relating to the development, sale
or rental of the Property (including, without limitation any speculative builder tax, owner-builder
tax, or construction contractor tax) have been paid and Seller shall pay any such taxes that may
arise as a result of the sale of the Property to Buyer as and when due. Seller shall indemnify, hold
harmless and defend the Indemnified Parties from any and all Claims relating to a breach of the
preceding sentence. The provisions of this Section 36 shall survive COE.

         37.    Tax Deferred Exchange. Each Party agrees to cooperate with each other in
effecting the other Party's exchange of the Property that qualifies for tax deferred treatment
pursuant to Section 1031 of the Internal Revenue Code of 1986, as amended, and corresponding
provisions of applicable state law by executing and delivering to each other or the applicable
exchange company, consents reasonably necessary to effect the tax-deferred exchange; provided,
that (a) such cooperation does not result in a delay of the Closing, (b) such consents do not modify
the terms of this Agreement nor impose any liability or obligations on the Party signing such
consent and (c) Buyer is not required to take title to any other real property. Such tax-deferred
exchange shall be affected at the requesting Party's sole cost, expense, and liability.

     38.   Waiver of Jury Trial and Certain Damages. EXCEPT AS OTHERWISE
SPECIFICALLY SET FORTH IN THIS AGREEMENT, TO THE EXTENT PERMITTED BY
APPLICABLE LAW, THE PARTIES HERETO SHALL AND THEY HEREBY DO
INTENTIONALLY WAIVE ANY AND ALL RIGHTS TO A TRIAL BY JURY IN ANY
ACTION, PROCEEDING OR COUNTERCLAIM BROUGHT BY EITHER OF THE PARTIES
HERETO AGAINST THE OTHER ON ANY MATTERS WHATSOEVER ARISING OUT OF
OR IN ANY WAY CONNECTED WITH THIS AGREEMENT AND/OR ANY CLAIM OR
INJURY OR DAMAGE RELATED THERETO. SELLER FURTHER WAIVES THE RIGHT IT
MAY HAVE TO SEEK PUNITIVE, CONSEQUENTIAL, SPECIAL, AND INDIRECT
DAMAGES FROM BUYER IN ANY ACTION, PROCEEDING OR COUNTERCLAIM WITH
RESPECT TO ANY MATTER ARISING OUT OF OR IN CONNECTION WITH THIS
AGREEMENT AND/OR ANY DOCUMENT CONTEMPLATED HEREIN OR RELATED
HERETO.

        39.      Escrow Instructions.




P: PUBLIC/PROJECTFILES/510TELSHOR/DISPOSTION PSA DRAFT 1/30/22
23-03004-cgb Doc#139-18 Filed 05/28/25 Entered 05/28/25 18:09:38 Exhibit 18. Email
                        from Carruth to Rice Pg 23 of 43


               (a)     Escrow Agent is hereby employed by the Parties to act as escrow agent in
connection with this Transaction. This Agreement shall be used as instructions to Escrow Agent,
as escrow agent, which may provide its standard conditions of acceptance of escrow; provided,
however, that in the event of any inconsistency between such standard conditions of acceptance
and the terms of this Agreement, the terms of this Agreement shall prevail. Escrow Agent's receipt
of this Agreement and the opening of an escrow pursuant to this Agreement shall be deemed to
constitute conclusive evidence of Escrow Agent's agreement to be bound by the terms and
conditions of this Agreement pertaining to Escrow Agent.

                (b)    Escrow Agent is authorized to pay, at COE, from any funds held by it for
each Party's respective credit, all amounts necessary to procure the delivery of any documents and
to pay, on behalf of Buyer and Seller, all charges, and obligations payable by them hereunder,
respectively. Buyer and Seller will pay all charges payable by them to Escrow Agent. Escrow
Agent shall not cause the Transaction to close unless and until it has received written instructions
from Buyer and Seller to do so. Escrow Agent is authorized, in the event any conflicting demand
is made upon it concerning these instructions or the escrow, at its election, to hold any documents
and/or funds deposited hereunder until an action shall be brought in a court of competent
jurisdiction to determine the rights of Buyer and Seller or to interplead such documents and/or
funds in an action brought in any such court.

               [REMAINDER OF THIS PAGE INTENTIONALLY LEFT BLANK.]




P: PUBLIC/PROJECTFILES/5/OTELSHOR/DISPOSTIONPSA DRAFT 1/30/22
23-03004-cgb Doc#139-18 Filed 05/28/25 Entered 05/28/25 18:09:38 Exhibit 18. Email
                        from Carruth to Rice Pg 24 of 43


        IN WITNESS WHEREOF, Seller and Buyer have executed this Agreement as of the
Effective Date.


SELLER:                                            MESILLA VALLEY VENTURES, LLC, a Texas
                                                   limited liability company

                                                   By: PDG PRESTIGE, Inc., a Texas corporation, its
                                                   Manager



                                                            By:          R.GG

                                                            Name: Michael Dixson

                                                            Its: President



BUYER:                                             LPC RETAIL, LLC, a Delaware limited liability
                                                   company


                                                   By:

                                                   Name: tivcr-rkiCA

                                                   Its:    Vice ?g,CsiD6nrr




P: PUBLIC/PROJECTFILES/510TELSHOR/DISPOSTION PSA DRAFT 1/30/22
23-03004-cgb Doc#139-18 Filed 05/28/25 Entered 05/28/25 18:09:38 Exhibit 18. Email
                        from Carruth to Rice Pg 25 of 43


                                 ESCROW AGENT'S ACCEPTANCE


       The foregoing fully executed Agreement together with the Earnest Money Deposit is
accepted by the undersigned this          day of                               , which for the
purposes of this Agreement shall be deemed to be the date of Opening of Escrow. Escrow Agent
hereby accepts the engagement to handle the escrow established by this Agreement in accordance
with the terms set forth in this Agreement.

                                            Southwestern Abstract & Title Co.

                                            By:

                                            Title:




P: PUBLIC/PROJECTFILES/510TELSHOR/DISPOSTIONPSA DRAFT 1/30/22
23-03004-cgb Doc#139-18 Filed 05/28/25 Entered 05/28/25 18:09:38 Exhibit 18. Email
                        from Carruth to Rice Pg 26 of 43


                                                EXHIBIT A

                         LEGAL DESCRIPTION OF REAL PROPERTY

Address: 510 S. Telshor Blvd Las Cruces, NM 88011 — See Assignment of Lease into Seller —
dated February 25, 2022

TRACT IA OF THE MESILLA VALLEY MALL SUBDIVSION REPLAT #5




P: PUBLIC/PROJECTFILES/510TELSHOR/DISPOSTION PSA DRAFT 1/30/22
23-03004-cgb Doc#139-18 Filed 05/28/25 Entered 05/28/25 18:09:38 Exhibit 18. Email
                        from Carruth to Rice Pg 27 of 43



                                                 EXHIBIT B

                                              BILL OF SALE


                                              BILL OF SALE

Date:                             , 2022

Seller: [SELLER], [Seller Entity]

Seller's Mailing Address:


Buyer:           [BUYER], [Buyer Entity]

Buyer's Mailing Address:

                                                  Definitions:

        As used herein, the following terms shall have the meanings assigned to such terms in the following
provisions:

        "Improvements" means the buildings, structures, fixtures and other improvements situated on the
Land; all rights and appurtenances pertaining to the Land; and all fixtures and equipment attached to or
located upon or within the Land or the Improvements thereto.

       "Land" means that certain tract of land located in the City of Durham, Durham County, North
Carolina, and legally described on Exhibit A which is attached hereto and made a part hereof

        "Personal Property" means all tangible personal property owned by Seller, if any, currently used
in the operation, repair and maintenance of the Real Property and situated thereon.

         "Real Property" means the Land and the Improvements.

                                       Transfer of Personal Property:

        For value received, Seller sells, assigns and delivers all of Seller's right, title and interest in and to
the Personal Property to Buyer.

        Seller has not made and does not make any express or implied warranty or representation of any
kind whatsoever with respect to the Personal Property, including, but not limited to: title; merchantability
of the Personal Property or its fitness for any particular purpose; the design or condition of the Personal
Property; the quality or capacity of the Personal Property; workmanship or compliance of the Personal
Property with the requirements of any law, rule, specification or contract pertaining thereto; patent
infringement or latent defects. Buyer accepts the Personal Property on an "AS IS, WHERE IS" basis, and
"WITH ALL FAULTS." The sale, delivery and assignment of the Personal Property is subject to the
matters to which that certain Special Warranty Deed ("Deed") of even date herewith from Seller to Buyer
conveying the Land is further made subject as fully as if and for all purposes as if the Personal Property
were included and described in the Deed.



P: PUBLIC/PROJECTFILES/510TELSHOR/DISPOSTION PRA DRAFT 1/30/22
23-03004-cgb Doc#139-18 Filed 05/28/25 Entered 05/28/25 18:09:38 Exhibit 18. Email
                        from Carruth to Rice Pg 28 of 43




        This Assignment may be executed and delivered in any number of counterparts, each of which so
executed and delivered shall be deemed to be an original and all of which shall constitute one and the same
instrument.

                                         [Signature Page Follows]




P: PUBLIC/PROJECTFILES/510TELSHOR/DISPOSTIONPSA DRAFT 1/30/22
23-03004-cgb Doc#139-18 Filed 05/28/25 Entered 05/28/25 18:09:38 Exhibit 18. Email
                        from Carruth to Rice Pg 29 of 43


        IN WITNESS WHEREOF, Seller has caused this instrument to be executed and delivered as of the
       day of         , 2022.

                                                       SELLER:

                                                       Mesilla Valley Ventures, LLC

                                                       By: PDG PRESTIGE, Inc. a Texas
                                                       Corporation


                                                       By:
                                                       Name: Michael Dixson
                                                       Title: President




P: PUBLIC/PROJECTHLES/510YELSHOR/DISPOS7YON PSA DRAFT 1/30/22
23-03004-cgb Doc#139-18 Filed 05/28/25 Entered 05/28/25 18:09:38 Exhibit 18. Email
                        from Carruth to Rice Pg 30 of 43



                                               EXHIBIT C

                                    ASSIGNMENT AGREEMENT

       This Assignment Agreement (the "Agreement") dated as of               , 202                (the
"Effective Date"), is by and between                                  , a
("Assignor"), and                           ,a                 ("Assignee").

       WHEREAS, Assignor, as Seller, and [Assignee, as Buyer][                   , LLC, as Buyer
("Original Buyer")], have entered into that certain Purchase and Sale Agreement dated as of
           , 201     [as modified by amendment dated                       ,] ([collectively, ](the
"Purchase Agreement"), providing for, among other things, the transfer and sale by Assignor to
[Assignee] [Original Buyer] of Contracts, Warranties and Permits (capitalized terms used herein
and otherwise not defined shall have the meaning given in the Purchase Agreement); and

      [WHEREAS Original Buyer assigned its right, title and interest in and to the Purchase
Agreement to Assignee pursuant to that certain Assignment of Purchase and Sale Agreement dated
as of                 , 201     ; and]

        WHEREAS Assignor desires to assign to Assignee all of Assignor's right, title, and interest
in and to the Permits, Warranties and the Contracts including, without limitation, as more
particularly listed in Exhibit A attached hereto (collectively, the "Assigned Contracts").

       NOW, THEREFORE, for good and valuable consideration, the receipt and sufficiency of
which are hereby acknowledged, Assignor and Assignee agree as follows:

        L.      Assignment. Assignor does hereby convey and assign to Assignee, its successors
and assigns, all of Assignor's right, title and interest in and to the Assigned Contracts (and Assignor
covenants to cooperate with Assignee to secure performance by any warrantor for any work under
such Assigned Contracts); provided, however, that to the extent the assignment of any Assigned
Contract shall require the consent of any other party, this Agreement shall not constitute a contract
to assign the same or any rights or liabilities thereunder if an attempted assignment thereof would
cause a breach of the terms of the Assigned Contract, and the assignment of such Assigned
Contract shall not be effective unless and until the consent of such other party shall have been
obtained.

       2.     Binding Agreement. The terms and conditions of this Agreement shall be binding
upon and inure to the benefit of Assignor and Assignee and their respective successors and assigns.

       3.    Interpretation. If there is any conflict as to the terms of this Agreement and the
Purchase Agreement, the terms of the Purchase Agreement shall prevail.

        4.    Governing Law. This Assignment Agreement shall be governed by and construed
in accordance with the laws of           applicable to contracts made and performed entirely
therein.

        5.     Headings. The headings of this Agreement are for reference only and shall not limit
or define the meaning of any provision of this Agreement.


P: PUBLIC/PROJECTFILES/510TELSHOR/DISPOSTIONPSA DRAFT 1/30/22
23-03004-cgb Doc#139-18 Filed 05/28/25 Entered 05/28/25 18:09:38 Exhibit 18. Email
                        from Carruth to Rice Pg 31 of 43



       6.       Counterparts. The parties agree that this Agreement may be executed by the parties
in one or more counterparts and each of which shall be deemed an original, but all of which
together shall constitute one and the same instrument.


        IN WITNESS WHEREOF, Assignor and Assignee have executed this Agreement as of the
date set forth above.



ASSIGNOR:


                                                   By:

                                                   Its:


ASSIGNEE:


                                                   By:

                                                   Its:




P: PUBLIC/PROJECTFILES/510TELSHOR/DISPOSTION PSA DRAFT 1/30/22
23-03004-cgb Doc#139-18 Filed 05/28/25 Entered 05/28/25 18:09:38 Exhibit 18. Email
                        from Carruth to Rice Pg 32 of 43



                                                EXHIBIT A

                                         LIST OF CONTRACTS
                                                 NA




P: PUBLIC/PROJECTFILES/510TELSHOR/DISPOSTION PSA DRAFT 1/30/22
23-03004-cgb Doc#139-18 Filed 05/28/25 Entered 05/28/25 18:09:38 Exhibit 18. Email
                        from Carruth to Rice Pg 33 of 43



                                                EXHIBIT D

 RECORDING REQUESTED BY AND
 WillEN RECORDED RETURN TO:




                               [to be conformed to state requirements]
                                    SPECIAL W                    TY" DEED

        For the consideration of Ten Dollars ($10.00), and other valuable considerations,
                                           ("Grantor"),      hereby        conveys        to
                                ,a                 ("Grantee"), the following described real
property situated in                 County,                , together with all rights and
privileges appurtenant thereto:

       See legal description set forth in Exhibit A attached and incorporated by this reference (the
"Property").

        together with all improvements, buildings, structures and fixtures located thereon; all
easements, if any, benefiting the Property; all rights, benefits, privileges and appurtenances
pertaining to the Property, including any right, title and interest of Grantor in and to any property
lying in or under the bed of any street, alley, road or right-of-way, open or proposed, abutting or
adjacent to the Property; the strips, gaps or gores, if any, between the Property and abutting
properties; all water, water rights, oil, gas or other mineral interests in, on, under or above the
Property; and all rights and interests to receive any condemnation awards from any condemnation
proceeding pertaining to the Property, sewer rights, water courses, wells, ditches and flumes
located on or appurtenant to the Property.

         SUBJECT ONLY TO the matters set forth on Exhibit "B" attached hereto and made a part hereof,
as well as taxes and assessments for 2022 and subsequent years.

       TOGETHER WITH all the easements, tenements, hereditaments and appurtenances thereto
belonging or in anywise appertaining.

        TO HAVE AND TO HOLD, the same in fee simple forever.

        GRANTOR hereby covenants with Grantee that it owns the Property in fee simple; that it has good
right and lawful authority to convey the Property; and that it warrants the title to the Property and will
defend the same against the lawful claims of all persons claiming by, through or under Grantor, but against
none other.



        Dated this        day of                   , 201



P: PUBLIC/PROJECTFILES/510TELSHOR/DISPOSTION PSA DRAFT 1/30/22
23-03004-cgb Doc#139-18 Filed 05/28/25 Entered 05/28/25 18:09:38 Exhibit 18. Email
                        from Carruth to Rice Pg 34 of 43




                                                          GRANTOR:


                                                          By:

                                                          Title:

STATE OF
                                         ) Ss:
COUNTY OF


This instrument was acknowledged and executed before me this              day of
201       , by



                                                 Notary Public


                                                 My Commission Expires:




 PUBLIC/PROJECTFILES/510TELSHOR/DISPOSTION PSA DRAFT 1/30/22
23-03004-cgb Doc#139-18 Filed 05/28/25 Entered 05/28/25 18:09:38 Exhibit 18. Email
                        from Carruth to Rice Pg 35 of 43



                                          EXHIBIT A TO
                                    SPECIAL WARRANTY DEED

                                             Legal Description




P: PUBLIC/PROJECITILES/5107ELSTIONDISPOSTION PSA DRAFT 1/30/22
23-03004-cgb Doc#139-18 Filed 05/28/25 Entered 05/28/25 18:09:38 Exhibit 18. Email
                        from Carruth to Rice Pg 36 of 43



                                                 EXHIBIT E

                                          LEASE ASSIGNMENT

       THIS ASSIGNMENT AND ASSUMPTION OF LEASE (this "Assignment"), is made
as of            , 202   by and between                    , a
("Assignor") and                 , LLC, a Delaware limited liability company
("Assignee").

                                           WITNESSETH:

        WHEREAS, pursuant to the terms of that certain Purchase and Sale Agreement, dated as
of                     , by and between Assignor, as Seller, and [Assignee, as
Buyer][               , LLC, as Buyer ("Original Buyer")] (the "Purchase Agreement"), Assignor
agreed to sell to [Assignee] [Original Buyer], inter alia, certain real property, the improvements
located thereon and certain rights appurtenant thereto owned by Assignor, all as more particularly
described in the Purchase Agreement (collectively, the "Property"). Initially capitalized terms not
otherwise defined herein shall have the respective meanings ascribed to such terms in the Purchase
Agreement; [and]

       WHEREAS, the Purchase Agreement provides, inter alia, that Assignor shall assign to
[Assignee] [Original Buyer] the Assignor's/landlord's interest in the lease (and associated
guaranties, if any) affecting the Property described on Exhibit A attached hereto (collectively, the
"Lease"), and that Assignor and [Assignee] [Original Buyer] shall enter into this Assignment[.] [;
and

      WHEREAS Original Buyer assigned its right, title and interest in and to the Purchase
Agreement to Assignee pursuant to that certain Assignment of Purchase and Sale Agreement dated
as of                 , 201     .]

       NOW, THEREFORE, in consideration of the premises and the mutual covenants herein
contained, the parties hereto hereby agree as follows:

        1.      Assignment. Assignor hereby assigns, transfers, and conveys to Assignee, all right,
title and interest of Assignor as landlord under the Lease. Assignor shall remain liable for the
performance of any obligation required to be performed by the landlord under the Lease for all
periods prior to the date hereof. Assignor shall indemnify, defend, and save Assignee harmless
from and against any and all claims, demands or liabilities arising pursuant to the Lease as a result
of any act or omission of Assignor occurring prior to the date hereof. The original signed
counterparts of the Lease, or copies thereof, if no originals are available, together with any and all
supplements and amendments thereto, have been delivered to Assignee herewith.

        2.      Assumption. Assignee, by acceptance of this Assignment and the Lease, hereby
assumes and agrees to keep, observe, and perform all of the covenants, conditions, terms, and
provisions under the Lease to be kept, observed, and performed by the landlord thereunder from
and after the date hereof. Assignee shall indemnify, defend, and save Assignor harmless from and




P: PUBLIC/PROJECTFILES/5107ELSTIOR/DISPOSTION RYA DRAFT 1/30/22
23-03004-cgb Doc#139-18 Filed 05/28/25 Entered 05/28/25 18:09:38 Exhibit 18. Email
                        from Carruth to Rice Pg 37 of 43



against any and all claims, demands or liabilities arising pursuant to the Lease as a result of any
act or omission of Assignee occurring from and after the date hereof

        3.     Miscellaneous. This Assignment and the obligations of the parties hereunder shall
survive the closing of the transaction referred to in the Purchase Agreement and shall not be
merged therein, shall be binding upon and inure to the benefit of the parties hereto, their respective
legal representatives, successors and assigns and may not be modified or amended in any manner
other than by a written agreement signed by the party to be charged therewith.

        4.     Severability. If any term or provision of this Assignment or the application thereof
to any persons or circumstances shall, to any extent, be invalid or unenforceable, the remainder of
this Assignment or the application of such term or provision to persons or circumstances other than
those as to which it is held invalid or unenforceable shall not be affected thereby, and each term
and provision of this Assignment shall be valid and enforced to the fullest extent permitted by law.

        5.      Counterparts. This Assignment may be executed in counterparts, each of which
shall be an original and all of which counterparts taken together shall constitute one and the same
agreement.

        6.       Attorneys' Fees. If any litigation between Assignor and Assignee arises out of the
obligations of the parties under this Assignment or concerning the meaning or interpretation of
any provision contained herein, the losing party shall pay the prevailing party's costs and expenses
of such litigation, including, without limitation, reasonable attorneys' fees.


         IN WITNESS WHEREOF, the undersigned have executed this Assignment as of the date
first set forth hereinabove.

                                                    ASSIGNOR:




                                                    ASSIGNEE:




P: PUBLIC/PROJECTFILES/510TELSITOR/DISPOSTION PSA DRAFT 1/30/22
23-03004-cgb Doc#139-18 Filed 05/28/25 Entered 05/28/25 18:09:38 Exhibit 18. Email
                        from Carruth to Rice Pg 38 of 43



                                                Exhibit A

                   [insert description of the existing lease and any applicable guaranty]

                         [NOTE: ADD GUARANTOR CONSENT AND
                       CONFIRMATION OF GUARANTY IF APPLICABLE]




WEST1271648894.2
23-03004-cgb Doc#139-18 Filed 05/28/25 Entered 05/28/25 18:09:38 Exhibit 18. Email
                        from Carruth to Rice Pg 39 of 43



                                                EXHIBIT F

                                SELLER'S DILIGENCE MATERIALS

1.       All agreements relating to possession, use or occupancy of any portion of the Real Property.

2.       Agreements in Seller's possession or under its control relating to the management, operation, repair,
         or maintenance of the Improvements, if any, and all amendments and modifications thereto.

3.       Maps, reports, documents, surveys, studies, plans and specifications, drawings, and other
         governmental permits and approvals, notices from insurer or governmental authority regarding the
         Property or any portion thereof, warranties, documents of significance to the Real Property,
         correspondence, or other materials pertaining to or concerning the Real Property that are in Seller's
         possession or under its control, including, without limitation:
         •    Any and all ALTA surveys for the Real Property.
         •    Any and all soil, geotechnical, grading, drainage, hydrology, or other engineering studies
              relating to the Real Property.
         •    Any and all environmental assessments, Phase I reports, Phase II reports and environmental
              remediation contracts for the Real Property.
         •    Any and all seismic or earthquake reports relating to the Real Property.
         •    Any and all architectural schematic or design development plans.
         •    Any and all applications for or copies of licenses, permits, conditional use permits, variances,
              certificates of occupancy, or for other land use entitlements to any governmental agency for the
              use, occupancy, and development of the Real Property, together with relating supporting
              materials; and
         •    Property condition reports.

4.       Property tax statements and assessed value notices for the past three years.

5.       Copies of all insurance policies.

6.       Annual operating statements within the last three (3) year period prior to the date of this Agreement.

7.       Annual store sales reports for the three (3) year period prior to the date of this Agreement.

8.       Budgets for the Real Property for the next fiscal year.

9.       Unaudited profit and loss statement for the most recent calendar quarter.

10.      All correspondence from governmental agencies relating to the Real Property, and all
         correspondence from neighboring property owners regarding the operation and use of the Real
         Property.

11.      Any marketing studies relating to the Real Property.




WEST \271648894.2
23-03004-cgb Doc#139-18 Filed 05/28/25 Entered 05/28/25 18:09:38 Exhibit 18. Email
                        from Carruth to Rice Pg 40 of 43




12.      Seller's title insurance policy for the Real Property with all endorsements thereto.

13.      Any and all correspondence, notifications or other documentation relating to condemnation of any
         portion of the Real Property or any real property adjacent to the Real Property.

14.      Any and all contracts and warranties relating to the Real Property, whether or not such warranties
         are assignable or transferrable to Buyer.

15.      Any other documents or other information in the possession or control of Seller or its agents
         pertaining to the Property.

16.      As built survey required under Section 9 (f) of the Lease.




WEST \271648894.2
23-03004-cgb Doc#139-18 Filed 05/28/25 Entered 05/28/25 18:09:38 Exhibit 18. Email
                        from Carruth to Rice Pg 41 of 43



                                                 EXHIBIT G

                                 FORM OF TENANT NOTICE LETTER

                                                [seller name]
                                               [seller address]




                                            NOTICE TO TENANT

                      , 201


[tenant]




Re:        Lease dated                       (as amended, modified and supplemented from time to time, and
           any guaranties relating thereto, collectively the "Lease") by and between
           ("Landlord") and                                        ("Tenant") with respect to the real property
           located at                                            /Store #        (the "Property")

Dear Tenant:

Please be advised that the Property and Landlord's interest in the Lease were purchased by

       , ("Buyer") from Landlord, effective as of the date hereof (the "Closing Date"). Buyer has assumed
all of the obligations of Landlord arising from and after the Closing Date. Landlord hereby irrevocably
instructs and authorizes you to hereafter make all rent and other monetary obligation payments payable
directly to Buyer, commencing with your                       , 20     payment. Buyer's notice information
is as follows:




                    Telephone:
                    Fax No.:
                    Email:

For billing and collection questions or issues, please contact                                    , at (      )
             , Email:

For all other purposes under the Lease, please contact                                         , at (
                 , Email:




WEST \271648894.2
23-03004-cgb Doc#139-18 Filed 05/28/25 Entered 05/28/25 18:09:38 Exhibit 18. Email
                        from Carruth to Rice Pg 42 of 43


Please direct your insurance broker to obtain a certificate of insurance identifying Buyer as an additional
named insured as required pursuant to the terms of the Lease and request that all future communication to
your landlord be sent to Buyer.

To facilitate your payment of rent and other monetary obligations to Buyer, Buyer's W-9 Form in enclosed
with this letter. Buyer's tax identification number is

In addition, Buyer requests that all payments to be made via wire transfer or ACH utilize the following:

 Beneficiary Account Name:
 Beneficiary Account Number:
 Bank Name:
 Bank Address:
 Wire Routing Transit Number:
 For International transfer only
 International SWIFT/BIC code:
****To ensure proper credit, please indicate the address of the Property for which the payment is being
     made on the wire.

The instructions set forth herein are irrevocable and are not subject to modification in any manner except as
expressly provided by, or on behalf of, the General Counsel of Buyer.



                               Remainder of Page Intentionally Left Blank
                                      Signature Page to Follow




WEST \271648894.2
23-03004-cgb Doc#139-18 Filed 05/28/25 Entered 05/28/25 18:09:38 Exhibit 18. Email
                        from Carruth to Rice Pg 43 of 43


NOTICE TO TENANT
[date]
[concept], [address]




                               Sincerely,

                               SELLER
                               PDG PRESTIGE, INC, A TEXAS CORPORATION


                               By:

                               Name:

                               Title:




LEASE ASSUMPTION

ACKNOWLEDGED: BUYER:


By:

Name:

Title:
